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                                    UNITED STATES DISTRICT COURT
14
                                   CENTRAL DISTRICT OF CALIFORNIA
15

16

17   ROSE DIAZ; and DIMAS DIAZ, individually;             CASE NO.: 2:19-cv-04695-DMG-AGR
     EDITH DIAZ, JESSE DIAZ; DAVID CHASE
18   DIAZ and D.A.D., a minor by and through her
     guardian ad litem Alexis Marie Olivarez,             SECOND COMPLAINT FOR DAMAGES
19
     individually and as co-successors-in-interest to     (42 U.S.C. Section 1983 and pendent tort
20   Decedent DIMAS DIAZ JR.,                             claims)
21                                                        JURY TRIAL DEMANDED
                                 Plaintiffs,
22
            vs.
23

24   COUNTY OF VENTURA, a municipal
     corporation; NOEL JUAREZ, individually and
25
     in his official capacity as a sheriff’s deputy for
26   the Ventura County Sheriff’s Department and
     DOES 1-50, inclusive, individually and in their
27   official capacities as agents for the Ventura
     County Sheriff’s Department; and BRIAN
28
     GREEN, individually and in his official capacity



                                  SECOND AMENDED COMPLAINT FOR DAMAGES - 1
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      as a California Highway Patrol Officer for the
1
      California Highway Patrol and DOES 51-65,
2     inclusive, individually and in their official
      capacities as California Highway Patrol Officers,
3
                                    Defendants.
4
                                                      INTRODUCTION
5
                 1.   This case arises out of the wrongful death of Dimas “Juno” Diaz Jr. On January 12,
6
      2019, just before noon, a phone call was made to dispatch concerning a domestic dispute between
7
      Isabelle Brilata and Juno. Shortly thereafter, multiple Ventura County Sheriff’s deputies arrived on
8
      the scene and engaged in an approximate twenty (20) minute vehicle pursuit of Juno towards and
9
      onto Highway 101 in Calabasas, California. During the short pursuit, Juno crashed his car against a
10
      guardrail on the Highway. Juno then reportedly struggled to get out of the car. At or around the same
11
      time, multiple California Highway Partol (hereinafter “CHP”) offcers and Ventura County Sheriff’s
12
      Deputies surrounded Juno with their weapons trained on him. After Juno got out of his car, he stood
13
      behind his car door.
14
                 2.   Suddenly, without warning or legal justification, Ventura County Sheriff’s Deputy
15
      NOEL JUAREZ (hereinafter “NOEL JUAREZ”) and California Highway Patrol Officer BRIAN
16
      GREEN (hereinafter “BRIAN GREEN”) began to fire their service weapons at Decedent. In the
17
      moments before his death, video recordings of the incident reveal an officer yelling “Less lethal! Less
18
      lethal!”
19
                 3.   Juno was pronounced dead at the scene of the incident.
20
                 4.   This civil rights and wrongful death action seeks compensatory and punitive damages
21
      against Defendants for violating various rights under the United States Constitution and California
22
      state law in connection with the fatal police shooting of the Decedent, Dimas Diaz Jr.
23
                                           JURISDICTION AND VENUE
24
                 5.   This action arises under Title 42 of the United States Code, § 1983. Title 28 of the
25
     United States Code, §§ 1331 and 1343 confers jurisdiction upon this Court. The unlawful acts and
26
     practices alleged herein occurred in the City of Calabasas, County of Los Angeles, California, which
27
     is within the judicial district of this Court.
28




                                     SECOND AMENDED COMPLAINT FOR DAMAGES - 2
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1            6.      The Supplemental Jurisdiction of this court is invoked pursuant to 28 U.S.C. §
2    1367 over the State law claims which are so related to federal claims in the action that they form part
3    of the same case or controversy under Article III of the Constitution of the United States of America.
4            7.      Venue is proper in this Court under 28 U.S.C. § 1391(b) because Defendants are
5    believed to reside in this district and all incidents, events, and occurrences giving rise to this action
6    occurred in this district.
7                                                          PARTIES
8            8.      Decedent Dimas Diaz Jr. (hereinafter "Decedent") was an individual residing in the
9    State of California. Decedent died intestate. Decedent did not file any legal actions prior to his death.
10   To the extent that this action seeks to recover damages for the violation of rights personal to
11   Decedent, this action is maintained by his Co-Successors-in-Interest.
12           9.      Plaintiff EDITH DIAZ (hereinafter “Plaintiff EDITH DIAZ”) is and was at all times
13   herein mentioned the spouse of Decedent. Plaintiff EDITH DIAZ sues in her individual capacity and
14   as a Co-Successor-in-Interest to Decedent.
15           10.     Plaintiff JESSE DIAZ (hereinafter “Plaintiff JESSE DIAZ”) is and was at all times
16   herein mentioned the biological son of Decedent. Plaintiff JESSE DIAZ sues in his individual
17   capacity and as a Co-Successor-in-Interest to Decedent.
18           11.     Plaintiff DAVID CHASE DIAZ (hereinafter “Plaintiff DAVID CHASE DIAZ”) is
19   and was at all times herein mentioned the biological son of Decedent. Plaintiff DAVID CHASE
20   DIAZ sues in his individual capacity and as a Co-Successor-in-Interest to Decedent.
21           12.     Plaintiff D.A.D. (hereinafter “Plaintiff D.A.D.) is and was at all times herein
22   mentioned the minor biological daughter of Decedent. Plaintiff D.A.D. sues in her individual capacity
23   and as a Co-Successor-in-Interest to Decedent. D.A.D. brings her claims through her guardian ad
24   litem, Alexis Marie Olivarez.
25           13.     Plaintiff ROSE DIAZ (hereinafter “Plaintiff ROSE DIAZ”) is and was at all times
26   herein mentioned the biological mother of Decedent. Plaintiff ROSE DIAZ sues in her individual
27   capacity.
28




                                   SECOND AMENDED COMPLAINT FOR DAMAGES - 3
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1           14.     Plaintiff DIMAS DIAZ SR. (hereinafter “Plaintiff Dimas Diaz Sr.”) is and was at all
2    times herein mentioned the biological father of Decedent. Plaintiff Dimas Diaz Sr sues in his
3    individual capacity.
4           15.     Defendant COUNTY OF VENTURA (hereinafter “County”) is an incorporated public
5    entity duly authorized and existing as such in and under the laws of the State of California; and at all
6    times herein mentioned, Defendant County has possessed the power and authority to adopt policies
7    and prescribe rules, regulations and practices affecting the operation of the Ventura County Sheriff’s
8    Department and its tactics, methods, practices, customs and usage. At all relevant times, Defendant
9    County was the employer of NOEL JUAREZ, individually and as a peace officer.
10          16.     Defendant NOEL JUAREZ (hereinafter “Defendant NOEL JUAREZ”) individually
11   and in his official capacity as a Ventura County Sheriff’s deputy violated Decedent’s civil rights,
12   wrongfully caused his death, and/or encouraged, directed, enabled and/or ordered order defendants to
13   engage in such conduct. Plaintiffs further allege that Defendant NOEL JUAREZ violated Plaintiffs’
14   Fourteenth Amendment rights to familial association and companionship and caused the wrongful
15   death of Decedent.
16          17.     Defendant BRIAN GREEN (hereinafter “Defendant BRIAN GREEN”), individually
17   and in his official capacity as a California Highway Patrol officer, violated Decedent’s civil rights,
18   wrongfully caused his death, and/or encouraged, directed, enabled and/or ordered order defendants to
19   engage in such conduct. Plaintiffs further allege that Defendant NOEL JUAREZ violated Plaintiffs’
20   Fourteenth Amendment rights to familial association and companionship and caused the wrongful
21   death of Decedent.
22          18.     Plaintiffs are ignorant of the true names and capacities of Defendants DOES 1 through
23   50, inclusive, and therefore sue these defendants by such fictitious names. Plaintiffs allege
24   Defendants DOES 1 through 25 are Ventura County Sheriff’s Deputies and violated Decedent's civil
25   rights, wrongfully caused his death, and/or encouraged, directed, enabled and/or ordered other
26   defendants to engage in such conduct. Plaintiffs further allege that the Defendants DOE Ventura
27   County Sheriff’s Department deputies violated Plaintiffs’ Fourteenth Amendment rights to familial
28   association and companionship and caused the wrongful death of Decedent. Plaintiffs will amend this




                                  SECOND AMENDED COMPLAINT FOR DAMAGES - 4
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1    Complaint to state the names and capacities of DOES 1 through 25, inclusive, when they have been
2    ascertained.
3           19.     Plaintiffs are ignorant of the true names and capacities of Defendants DOES 26
4    through 50, inclusive, and therefore sue these defendants by such fictitious names. Plaintiffs are
5    informed and believe and thereon allege that each Defendant so named was employed by Defendant
6    County at the time of the conduct alleged herein. Plaintiffs allege that each of Defendants DOES 26-
7    50 were responsible for the training, supervision and/or conduct of the sheriff’s deputies and/or
8    agents involved in the conduct alleged herein. Plaintiffs allege that each of Defendants DOES 26
9    through 50 was also responsible for and caused the acts and injuries alleged herein. Plaintiffs will
10   amend this Complaint to state the names and capacities of DOES 26 through 50, inclusive, when they
11   have been ascertained.
12          20.     Plaintiffs are ignorant of the true names and capacities of Defendants DOES 51
13   through 65, inclusive, individually and in their official capacities as CHP officers and therefore sue
14   these defendants by such fictitious names. Plaintiffs allege Defendants DOES 51 through 65 violated
15   Decedent's civil rights, wrongfully caused his death, and/or encouraged, directed, enabled and/or
16   ordered other defendants to engage in such conduct. Plaintiffs further allege that the Defendants
17   DOES 51-65 violated Plaintiffs’ Fourteenth Amendment rights to familial association and
18   companionship and caused the wrongful death of Decedent. Plaintiffs will amend this Complaint to
19   state the names and capacities of DOES 51 through 65, inclusive, when they have been ascertained.
20                                    PRELIMINARY ALLEGATIONS
21          21.     The County of Ventura is a public entity and is being sued under Title 42 U.S.C. §
22   1983 for violations of the Fourteenth Amendments of the United States Constitution, California state
23   law, the California Tort Claims Act, and the Government Code for the acts and omissions of
24   Defendant NOEL JUAREZ and Defendants Ventura County Sheriff’s Department DOES 1-25, and
25   each of them, who at the time they caused Plaintiffs’ and Decedent's injuries, damages and death
26   were duly appointed, qualified and acting officers, employees, and/or agents of County and acting
27   within the course and scope of their employment and/or agency.
28




                                  SECOND AMENDED COMPLAINT FOR DAMAGES - 5
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1               22.   Plaintiffs also allege that Defendant BRIAN GREEN and Defendant DOES 51-65,
2    individually and in their official capacities as California Highway Patrol officers, caused Plaintiffs’
3    and Decedent’s injuries, damages and death.
4               23.   Plaintiffs allege that the conduct of each defendant deprived Decedent of his
5    constitutional right to life and caused Decedent to suffer grievous harm prior to his death.
6               24.   Each of the Defendants caused and is responsible for the unlawful conduct and
7    resulting harm by, inter alia, personally participating in the conduct, or acting jointly and in concert
8    with others who did so, by authorizing, acquiescing, condoning, acting, omitting or failing to take
9    action to prevent the unlawful conduct, by promulgating or failing to promulgate policies and
10   procedures pursuant to which the unlawful conduct occurred, by failing and refusing to initiate and
11   maintain proper and adequate policies, procedures and protocols, and by ratifying and condoning the
12   unlawful conduct performed by agents and officers under their direction and control.
13              25.   Whenever and wherever reference is made in this Complaint to any act by Defendant
14   NOEL JUAREZ, Defendant BRIAN GREEN as well as Defendants DOES 1-50 and DOES 51-65,
15   such allegations and references shall also be deemed to mean the acts and failures to act of each DOE
16   Defendants individually, jointly or severally.
17                                        ADMINISTRATIVE PREREQUISITES
18              26.   Plaintiffs are required to comply with an administrative tort claim requirement under
19   California law. Plaintiffs filed a claim against the County of Ventura and the California Highway
20   Patrol on March 19, 2019. Plaintiffs have exhausted all administrative remedies pursuant to
21   California Government Code Section 910.
22                                            GENERAL ALLEGATIONS
23              27.   On January 12, 2019, just before noon, a phone call was made to dispatch concerning
24   a domestic dispute between Isabelle Brilata and Decedent.
25              28.   Shortly thereafter, multiple VPD officers arrived on the scene and engaged in a short
26   vehicle pursuit of Decedent on Highway 101 in Calabasas, California. During the short pursuit,
27   Decedent crashed his car against a guardrail on the Highway. Decedent then struggled to get out of
28   the car.




                                   SECOND AMENDED COMPLAINT FOR DAMAGES - 6
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1            29.     At or around the same time, multiple CHP offcers and Ventura County Sheriff’s
2    Deputies surrounded Decedent with their weapons trained on him. After Decedent got out of his car,
3    he stood behind his car door.
4            30.     Suddenly, without warning or legal justification, Defendant NOEL JUAREZ and
5    Defendant BRIAN GREEN began to fire their service weapons at Decedent’s person, striking
6    Decedent multiple times and continued to do so while Decedent was laying defenseless on the
7    ground.
8            31.     Decedent was pronounced dead at the scene.
9            32.     Despite Decedent’s apparent injuries and pleas for help, Defendant NOEL JUAREZ
10   and Defendant BRIAN GREEN, DOES 1-25, as well as DOES 51-65 refused to render aid to
11   Decedent. Decedent died as a result of his injuries.
12           33.     Decedent's death was proximately caused by the injuries he suffered at the hands of
13   Defendant NOEL JUAREZ, Defendant BRIAN GREEN, DOES 1-25, as well as DOES 51-65.
14           34.     Plaintiffs allege that reasonable sheriff’s deputies and officers in the Defendants’
15   positions would have clearly been on notice that Decedent did not pose a threat of harm to anyone at
16   the time that he was shot to death.
17           35.     The actions and omissions of Defendant NOEL JUAREZ, Defendant BRIAN
18   GREEN, DOES 1-25, and DOES 51-65 was without legal justification or other legal right, done
19   under color of law, within the course and scope of their employment as law enforcement officers
20   and/or public officials, and pursuant to unconstitutional customs, policies and procedures of County
21   and/or other jurisdictions.
22           36.     Plaintiffs are informed and believe and thereon allege that County and Defendant
23   DOES 26-50, inclusive, breached their duty of care to the public in that they have failed to discipline
24   DOES 1-25. Their failure to discipline DOES 1-25 inclusive, demonstrates the existence of an
25   entrenched culture, policy or practice of promoting, tolerating and/or ratifying with deliberate
26   indifference the making of improper detentions and arrests, the use of excessive and/or deadly force
27   and the fabrication of official reports to cover up DOES 1-25’s inclusive, misconduct.
28




                                   SECOND AMENDED COMPLAINT FOR DAMAGES - 7
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1            37.      At all material times, and alternatively, the actions and omissions of each Defendant
2    were conscience-shocking, reckless, deliberately indifferent to Decedent’s and Plaintiffs’ rights,
3    negligent, and objectively unreasonable.
4                                               MONELL ALLEGATIONS
5            38.      Based upon the principles set forth in Monell v. New York City Department of Social
6    Services, 436 U.S. 658 (1978), County is liable for all injuries sustained by Plaintiffs as set forth
7    herein. County bears liability because its policies, practices and/or customs were a cause of Decedent's
8    death and Plaintiffs’ injuries. County and its officials maintained or permitted one or more of the
9    following official policies or customs:
10                 a) Failure to provide adequate training and supervision to sheriff’s deputies with respect
11                    to constitutional limits on the use of deadly force;
12                 b) Failure to provide adequate training and supervision to sheriff’s deputies with respect
13                    to constitutional limits on use of force, arrest, search, and detention;
14                 c) Failure to adequately discipline or retrain deputies involved in misconduct;
15                 d) Selection, retention, and assignation of deputies with demonstrable propensities for
16                    excessive force, violence, dishonesty, and other misconduct;
17                 e) Encouragement of sheriff’s deputies in the belief that they can violate the rights of
18                    persons, such as Plaintiffs, with impunity, and that such conduct will not adversely
19                    affect their opportunities for promotion and other employment benefits.;
20                 f) Ratification by the highest levels of authority of the specific unconstitutional acts
21                    alleged in this complaint and, in particular, the ratification of the unjustified shooting
22                    of Decedent.
23                                                         DAMAGES
24           39.      As a consequence of Defendants’ violation of Plaintiffs’ federal civil rights under 42
25   U.S.C. §1983 and the Fourth and Fourteenth Amendments, Plaintiffs were mentally, and emotionally
26   injured and damaged as a proximate result of Decedent’s wrongful death, including but not limited
27   to: Plaintiffs’ loss of familial relations, Decedent’s society, comfort, protection, companionship, love,
28   affection, solace, and moral support and financial support.




                                     SECOND AMENDED COMPLAINT FOR DAMAGES - 8
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1            40.       Plaintiffs seek both survival and wrongful death damages, pursuant to C.C.P. Sections
2    377.60 and 377.61 and Probate Code Section 6402(b), for the violation of both Decedent’s and their
3    rights. Additionally, Plaintiffs are entitled to the reasonable value of funeral and burial expenses
4    pursuant to C.C.P. §§ 377.60 and 377.61 and loss of financial support.
5            41.       Plaintiffs are further entitled to recover damages incurred by Decedent before he died
6    as a result of being deprived without due process of his right to life, and to any penalties or punitive
7    damages to which Decedent would have been entitled to recover had he lived, including damages
8    incurred by Decedent consisting of pain and suffering he endured as a result of the violation of his
9    civil rights.
10           42.       Plaintiffs found it necessary to engage the services of private counsel to vindicate the
11   rights of Decedent and Plaintiffs’ rights under the law. Plaintiffs are therefore entitled to an award of
12   attorneys’ fees and/or costs pursuant to statute(s) in the event that they are the prevailing party in this
13   action under 42 U.S.C. § 1983, and 1988.
14

15                                            FIRST CAUSE OF ACTION
                                               (42 U.S.C. section 1983)
16                                                (Excessive Force)
                     (Plaintiffs EDITH DIAZ, DAVID CHASE DIAZ, JESSE DIAZ, and D.A.D. by and
17
                        through Alexis Marie Olivarez against Defendants NOEL JUAREZ, BRIAN
18                                       GREEN, DOES 1-25, and DOES 51-65)

19           43.       Plaintiffs hereby re-allege and incorporate by reference herein the preceding factual

20   allegations of this Complaint.

21           44.       Defendant(s) unjustified shooting deprived Decedent of his right to be secure in his

22   person against unreasonable searches and seizures as guaranteed to Decedent under the Fourth

23   Amendment to the United States Constitution and applied to state actors by the Fourteenth

24   Amendment.

25           45.       This use of deadly force was excessive and unreasonable under the circumstances,

26   especially since Decedent never injured or attempted to injure any officer or any other person.

27   Moreover, the gunshots were heard at a time it appeared Decedent was on the ground. Defendants'

28




                                    SECOND AMENDED COMPLAINT FOR DAMAGES - 9
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1    actions thus deprived Decedent of his right to be free from unreasonable searches and seizures under
2    the Fourth Amendment and applied to state actors by the Fourteenth Amendment.
3            46.     The conduct of Defendants was willful, wanton, malicious, and done with reckless
4    disregard for the rights and safety of Decedent, causing his death and Plaintiffs subsequent damages.
5            WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
6

7                                        SECOND CAUSE OF ACTION
                                               (42 U.S.C. section 1983)
8                                             (Denial of Medical Care)
                 (Plaintiffs EDITH DIAZ, DAVID CHASE DIAZ, JESSE DIAZ, and D.A.D. by and
9
               through Alexis Marie Olivarez against Defendants NOEL JUAREZ, BRIAN GREEN,
10                                        DOES 1-25, and DOES 51-65)

11           47.     Plaintiffs hereby re-allege and incorporate by reference herein the preceding factual

12   allegations of this Complaint.

13           48.     The denial of medical care by Defendants deprived Decedent of his right to be secure

14   in his person against unreasonable searches and seizures as guaranteed to Decedent under the Fourth

15   Amendment to the United States Constitution and applied to state actors by the Fourteenth

16   Amendment.

17           49.     Defendants knew that failure to provide timely medical treatment to Decedent could

18   result in further significant injury or the unnecessary and wanton infliction of pain, but disregarded

19   that serious medical need, causing Decedent great bodily harm and death.

20           50.     The conduct of Defendants was willful, wanton, malicious, and done with reckless

21   disregard for the rights and safety of Decedent.

22           WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.

23                                       THIRD CAUSE OF ACTION
24
                                                  (42 U.S.C. § 1983)
                  (Violation of Plaintiffs’ 14th Amendment Rights/Right to Familial Relationship)
25             (All Plaintiffs against Defendants NOEL JUAREZ, BRIAN GREEN, DOES 1-25, and
                                                    DOES 51-65)
26
             51.     Plaintiffs hereby re-allege and incorporate by reference herein the preceding factual
27
     allegations of this Complaint.
28




                                  SECOND AMENDED COMPLAINT FOR DAMAGES - 10
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1            52.     Plaintiffs had a cognizable interest under the Due Process Clause of the Fourteenth
2    Amendment of the United States Constitution to be free from state actions that deprive them of life,
3    liberty, or property in such a manner as to shock the conscience, including but not limited to,
4    unwarranted state interference in Plaintiffs’ familial relationship with Decedent.
5            53.     Decedent had a cognizable interest under the Due Process Clause of the Fourteenth
6    Amendment of the United States Constitution to be free from state actions that deprive him of his right
7    to life, liberty, or property in such a manner as to shock the conscience.
8            54.     As a result of the excessive force by Defendants, Decedent died. Plaintiffs were
9    thereby deprived of their constitutional right of familial relationship with Decedent.
10           55.     Defendants, acting under color of state law, thus violated the Fourteenth Amendment
11   rights of Plaintiffs to be free from unwarranted interference with their familial relationship with
12   Decedent.
13           56.     The aforementioned actions of Defendants, along with other undiscovered conduct,
14   shock the conscience, in that they acted with deliberate indifference to the constitutional rights of
15   Decedent, and Plaintiffs, and with purpose to harm unrelated to any legitimate law enforcement
16   objective.
17           57.     Defendants, acting under color of state law, thus violated the Fourteenth Amendment
18   rights of Decedent and Plaintiffs.
19           58.     As a direct and proximate cause of the acts of Defendants, Decedent experienced
20   severe pain and suffering and lost his life and earning capacity. Plaintiffs suffered extreme and severe
21   mental anguish and pain and have been injured in mind and body. Plaintiffs have also been deprived
22   of the life-long love, companionship, comfort, support, society, care and sustenance of Decedent, and
23   will continue to be so deprived for the remainder of their natural lives.
24           59.     As a result of the conduct of Defendants, they are liable for Decedent's injuries, either
25   because they were integral participants in the denial of due process, or because they failed to intervene
26   to prevent these violations.
27           60.     The conduct of Defendants was willful, wanton, malicious, and done with reckless
28   disregard for the rights and safety of Decedent and Plaintiffs.




                                    SECOND AMENDED COMPLAINT FOR DAMAGES - 11
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1            WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
2
                                             FOURTH CAUSE OF ACTION
3
                                               (42 U.S.C. Section 1983)
4                         (Monell - Municipal Liability for Unconstitutional Custom or Policy)
                   (Plaintiffs EDITH DIAZ, DAVID CHASE DIAZ, JESSE DIAZ, and D.A.D. by and
5                     through Alexis Marie Olivarez against Defendants County and DOES 26-50)
6            61.      Plaintiffs hereby re-allege and incorporate by reference herein the preceding factual
7    allegations of this Complaint.
8            62.      On information and belief Defendants’ DOES 1-25 conduct, individually and as peace
9    officers was ratified by County’s supervisorial officers DOES 26-50.
10           63.      On information and belief, Defendants were not disciplined for the killing of
11   Decedent.
12           64.      On and for some time prior to January 12, 2019 (and continuing to the present day)
13   Defendants, individually and as peace officers, deprived Plaintiffs and Decedent of the rights and
14   liberties secured to them by the Fourth and Fourteenth Amendment to the United States Constitution,
15   in that said defendants and their supervising and managerial employees, agents, and representatives,
16   acting with gross negligence and with reckless and deliberate indifference to the rights and liberties of
17   the public in general, and of Plaintiff and Decedent, and of persons in their class, situation and
18   comparable position in particular, knowingly maintained, enforced and applied an official recognized
19   custom, policy, and practice of:
20                    a) Employing and retaining as police officers and other personnel, including
21                       Defendants, individually and as peace officers; who at all times material herein
22                       knew or reasonably should have known had dangerous propensities for abusing
23                       their authority and for mistreating citizens by failing to follow written County
24                       Department policies, including the use of excessive and deadly force;
25                    b) Of inadequately supervising, training, controlling, assigning, and disciplining
26                       County deputies, and other personnel, including Defendants who County knew or
27                       in the exercise of reasonable care should have known had the aforementioned
28




                                   SECOND AMENDED COMPLAINT FOR DAMAGES - 12
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1                       propensities and character traits, including the propensity for violence and the use
2                       of excessive force;
3                   c) Of inadequately supervising, training, controlling, assigning, and disciplining
4                       County Police officers, and other personnel, including Defendants in responding to
5                       individuals who were mentally impaired or disabled;
6                   d) By maintaining grossly inadequate procedures for reporting, supervising,
7                       investigating, reviewing, disciplining and controlling the intentional misconduct
8                       by Defendants who are deputies of County;
9                   e) By failing to discipline County officers’ conduct, including but not limited to,
10                      unlawful detention and excessive and deadly force;
11                  f) By ratifying the intentional misconduct of Defendants and other officers who are
12                      deputies of County;
13                  g) By having and maintaining an unconstitutional policy, custom and practice of
14                      detaining and arresting individuals without probable cause or reasonable suspicion,
15                      and using excessive force, including deadly force, which also is demonstrated by
16                      inadequate training regarding these subjects. The policies, customs and practices
17                      of Defendants were done with a deliberate indifference to individuals’ safety and
18                      rights; and
19                  h) By failing to properly investigate claims of unlawful detention and excessive force
20                      by County deputies.
21          65.     By reason of the aforementioned policies and practices of Defendants, individually
22   and as peace officers, Decedent was severely injured and subjected to pain and suffering and lost his
23   life and earning capacity for which Plaintiffs are entitled to recover damages.
24          66.     Defendants, individually and as peace officers, together with various other officials,
25   whether named or unnamed, had either actual or constructive knowledge of the deficient policies,
26   practices and customs alleged in the paragraphs above. Despite having knowledge as stated above
27   these defendants condoned, tolerated and through actions and inactions thereby ratified such policies.
28   Said defendants also acted with deliberate indifference to the foreseeable effects and consequences of




                                 SECOND AMENDED COMPLAINT FOR DAMAGES - 13
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1    these policies with respect to the constitutional rights of Decedent, Plaintiffs, and other individuals
2    similarly situated.
3            67.      By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct and other
4    wrongful acts, Defendants, individually and as peace officers; acted with an intentional, reckless, and
5    callous disregard for the life of Decedent. Each of their actions were willful, wanton, oppressive,
6    malicious, fraudulent, and extremely offensive and unconscionable to any person of normal
7    sensibilities.
8            68.      Furthermore, the policies practices, and customs implemented and maintained and still
9    tolerated by Defendants, individually and as peace officers; were affirmatively linked to and were
10   significantly influential force behind the injuries of Decedent and Plaintiffs.
11           69.      By reason of the aforementioned acts and omissions of Defendants, individually and
12   as peace officers, Plaintiffs were caused to incur funeral and related burial expenses, loss of gifts and
13   benefits and loss of financial support.
14           70.      By reason of the aforementioned acts and omissions of Defendants, individually and
15   as peace officers, Plaintiffs have suffered loss of love, companionship, affection, comfort, care,
16   society, and future support.
17           71.      Accordingly, Defendants, individually and as peace officers, each are liable to
18   Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
19           WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
20
                                          FIFTH CAUSE OF ACTION
21                                     (C.C.P. Section 377.60 and 377.61)
                                         (Wrongful Death- Negligence)
22               (Plaintiffs EDITH DIAZ, DAVID CHASE DIAZ, JESSE DIAZ, and D.A.D. by and
               through Alexis Marie Olivarez against Defendants NOEL JUAREZ, BRIAN GREEN,
23
                                         DOES 1-25, and DOES 51-65)
24
             72.      Plaintiffs hereby re-allege and incorporate by reference herein the preceding factual
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     allegations of this Complaint, except for any and all allegations of intentional, malicious, extreme,
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     outrageous, wanton, and oppressive conduct by defendants, and any and all allegations requesting
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     punitive damages.
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1            73.     Defendants shot and killed Decedent despite the absence of a threat to a defendant
2    officer or any other person. Because Decedent died intestate. Plaintiffs are the proper persons to sue
3    for his wrongful death under California state law.
4            74.     Defendants’ negligent actions and/or negligent failure to act within the scope and
5    course of their employment with Defendant County, as set forth herein-above proximately caused the
6    death of Decedent.
7            75.     As an actual and proximate result of said Defendants’ negligence, and the death of
8    Decedent, Plaintiffs have sustained pecuniary loss resulting from the loss of comfort, society,
9    attention, services, and support of her father, Decedent, in an amount according to proof at trial.
10           76.     As a further actual and proximate result of said Defendants’ negligence, Plaintiffs
11   have incurred funeral and burial expenses, in an amount according to proof at trial.
12           77.     Pursuant to California C.C.P. Sections 377.60 and 377.61, Plaintiffs have brought this
13   action, and claim damages from said Defendants for the wrongful death of Decedent, and the resulting
14   injuries and damages.
15           WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
16
                                            SIXTH CAUSE OF ACTION
17                                    (Violation of California Civil Code §52.1)
                   (Plaintiffs EDITH DIAZ, DAVID CHASE DIAZ, JESSE DIAZ, and D.A.D. by and
18                    through Alexis Marie Olivarez against Defendants NOEL JUAREZ, BRIAN
                                       GREEN, DOES 1-25, and DOES 51-65)
19
             78.     Plaintiffs hereby re-allege and incorporate by reference herein the preceding factual
20
     allegations of this Complaint.
21
             79.     Defendants’ above-described conduct constituted interference, and attempted
22
     interference, by threats, intimidation and coercion, with the Decedent's peaceable exercise and
23
     enjoyment of rights secured by the Constitution and laws of the United States and the State of
24
     California, in violation of California Civil Code §52.1.
25
             80.     As a direct and proximate result of Defendant's violation of Civil Code § 52.1,
26
     Decedent suffered violations of his constitutional rights, and suffered damages as set forth herein.
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1            81.    Plaintiffs are entitled to treble damages, but in no case less than $4,000.00 and an
2    award of her reasonable attorney’s fees pursuant to Civil Code § 52(a).
3            82.    Under the provisions of California Civil Code §52(b), Defendant is liable for punitive
4    damages for each violation of Civil Code §52.1, reasonable attorney’s fees and an additional
5    $25,000.00.
6            WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
7
                                       SEVENTH CAUSE OF ACTION
8                                         (Survival Action: Battery)
                (Plaintiffs EDITH DIAZ, DAVID CHASE DIAZ, JESSE DIAZ, and D.A.D. by and
9             through Alexis Marie Olivarez against Defendants NOEL JUAREZ, BRIAN GREEN,
                                        DOES 1-25, and DOES 51-65)
10
             83.    Plaintiffs hereby re-allege and incorporate by reference herein the preceding factual
11
     allegations of this Complaint.
12
             84.     Defendants’ conduct was neither privileged nor justified under statute or common law.
13
             WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
14

15                                                  JURY DEMAND
16           85.    Plaintiffs hereby demand a jury trial in this action.
17                                                      PRAYER
18           WHEREFORE, Plaintiffs pray for relief, as follows:
19           1.     For general damages in a sum according to proof;
20           2.     For special damages in a sum according to proof;
21           3.     For punitive damages in a sum according to proof as to Noel Juarez, Brian Green,
22                  DOES 1-25, and DOES 51-65;
23           4.     For reasonable attorney’s fees pursuant to 42 U.S.C. Section 1988;
24           5.     For any and all statutory damages allowed by law;
25           6.     For cost of suit herein incurred; and
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1          7.     For such other and further relief as the Court deems just and proper.
2

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4    Dated: August 12, 2019                             LAW OFFICES OF JOHN L. BURRIS
5

6
                                                        __/s/ John L. Burris__            _
7                                                         John L. Burris, Esq.,
                                                          Attorney for Plaintiffs
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